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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


UNITED STATES OF AMERICA

v.                                                                Cr. No. 4-18-199-5

LEATRICE MALIKA DEBRUHL-DANIELS

            DEFENDANT’S OBJECTIONS TO GOVERNMENT’S
                     AMENDED EXHIBIT LIST

      Leatrice De Bruhl, through her attorney, the Federal Public Defender, submits

the following objections to the Government’s Amended Exhibit List. The

Government initially listed its exhibits on May 26, 2022, and made them available

on May 30, 2022.

Exhibits 16 & 17 – These exhibits are memoranda written by Mark Russ, Executive

Assistant Director of the Naval Criminal Investigative Service, to the Inspector

General of that agency on May 2, 2018. These exhibits include hearsay, in violation

of Fed. R. Evid. 802, and their admission would violate Ms. Debruhl’s rights under

the Confrontation Clause of the Sixth Amendment.

      In addition, Ms. Debruhl requests that the government demonstrate the

authenticity of these exhibits prior to their admission into evidence.

Exhibit 18 – This exhibit contains copies of documents found during the consensual

search of Ms. Debruhl’s hotel room in May 2018.

      As explained in Ms. Debruhl’s Response to Government Notice Pursuant to
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Fed. R. Evid. 404(b), these documents are not relevant to any matter at issue and are

thus inadmissible under Fed. R. Evid. 402 and, even if there is any slight relevance,

it is outweighed by the risk of unfair prejudice, and thus they are inadmissible under

Fed. R. Evid. 403.

Exhibit 32 – This exhibit contains texts in two different formats; the first appears to

be just a plain-text print-out of text communications. The second format appears for

be screenshots of text messages. On many of these screenshots there appears to be

explanatory text added by someone; this text appears in white boxes on many of the

screen shots. This explanatory material is entirely hearsay, and thus not admissible

pursuant to Fed. R. Evid. 802, and its admission would violate Ms. Debruhl’s rights

under the Confrontation Clause of the Sixth Amendment.

      In addition, Ms. Debruhl requests that the government demonstrate the

authenticity of this exhibit prior to their admission into evidence.

Exhibits 33, 34, 35, 36, 75, and 76 – These exhibits relate to a trip taken by Ms.

Debruhl from the United States to Dubai in July 2018, after she had been suspended

from her job without pay and after she had voluntarily undergone days of interviews

with law enforcement agents.

      As explained in Ms. Debruhl’s Response to Government Notice Pursuant to

Fed. R. Evid. 404(b), these documents are not relevant to any matter at issue and are

thus inadmissible under Fed. R. Evid. 402 and, even if there is any slight relevance,
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it is outweighed by the risk of unfair prejudice, and thus they are inadmissible under

Fed. R. Evid. 403.

Exhibit 77 – This exhibit includes an email from a Department of State email

address to Nadal Diya scheduling an interview; Ms. Debruhl raises no objection to

this portion of the exhibit.

      The rest of the exhibit includes various pieces of forwarding information and

post-hoc explanatory text written by a Special Agent in 2020. None of this material

is relevant and it should be excluded under Fed. R. Evid. 402. In addition, the

explanatory text is hearsay and should be excluded under Fed. R. Evid. 802 and

because its admission would violate Ms. Debruhl’s rights under the Confrontation

Clause of the Sixth Amendment.

      Copies of these exhibits will be hand delivered to chambers.

                                          Respectfully submitted,
                                          MARJORIE A. MEYERS
                                          Federal Public Defender
                                          Southern District of Texas No. 3233
                                          Texas State Bar No. 14003750

                                          By /s/ Philip G. Gallagher
                                          PHILIP G. GALLAGHER
                                          Assistant Federal Public Defender
                                          Attorney in Charge
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                         CERTIFICATE OF SERVICE

      I certify that on June 1, 2022, a copy of the foregoing Opposition was served

by Notice of Electronic Filing upon all counsel of record.


                                         s/ Philip G. Gallagher
                                         PHILIP G. GALLAGHER




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